      Case 1:20-cr-00077-RJA-HKS Document 20 Filed 10/20/20 Page 1 of 8




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                             Plaintiff,

 v.
                                                                        20-CR-77A
PAUL E. LUBIENECKI,

                      Defendant.
_____________________________________


                      REPORT, RECOMMENDATION AND ORDER


              This case was referred to the undersigned by the Hon. Richard J. Arcara,

in accordance with 28 U.S.C. ' 636(b)(1), for all pretrial matters and to hear and report

upon dispositive motions.



                               PRELIMINARY STATEMENT



              The defendant, Paul E. Lubienecki (Athe defendant@), is charged in a one

count indictment with having violated Title 18 U.S.C. §§ 2261A(2) and 2261A(2)(B).

Dkt. #8. He has filed a motion wherein he seeks dismissal of the indictment claiming

that it “fails to in any way identify a single detail of the course of conduct purportedly

engaged in by [the defendant] between August 20, 2019 and February 4, 2020, “thereby

resulting in a “fatal omission” which “renders the Indictment facially insufficient and

subject to dismissal pursuant to Federal Rules of Criminal Procedure 7(c) and
      Case 1:20-cr-00077-RJA-HKS Document 20 Filed 10/20/20 Page 2 of 8




12(b)(3)(B).” Dkt. #14, p. 4, ¶s 12 and 13. The defendant also asserts that the

indictment “in this case violates both the Due Process clause of the Fifth Amendment

and the guarantee of the Sixth Amendment that an accused ‘shall enjoy the right . . . to

be informed of the nature and cause of the accusation.” Dkt. #14, p. 4, ¶14.



             The government has filed its opposition to the defendant’s motion to

dismiss (Dkt. #16) and oral argument on the defendant’s motion was heard by this Court

and decision reserved.



                             DISCUSSION AND ANALYSIS



             For the following reasons hereinafter stated, it is recommended that the

arguments put forth by the defendant be rejected and that his motion to dismiss the

indictment be denied in all respects.



             “[A]n indictment is sufficient if it, first, contains the elements
             of the offense charged and fairly informs a defendant of the
             charge against which he must defend and, second, enables
             him to plead an acquittal or conviction in bar of future
             prosecutions for the same offense.” Hamling v. United
             States, 418 U.S. 87, 117 (1974); United States v.
             Stavroulakis, 952 F.2d 686, 693 (2d Cir.), cert. denied, 504
             U.S. 926 (1992). “Further, an indictment need only track the
             language of the statute, and if necessary to apprise the
             defendant of the nature of the accusation against him with
             ‘reasonable certainty,’ state the time and place of the alleged
             offense in approximate terms.” Russell v. United States,
             369 U.S. 749, 765-66 (1962), (cited in United States v.
             King, No. 98-CR-91A, 2000 WL 362026, at *8 (W.D.N.Y.

                                             2
      Case 1:20-cr-00077-RJA-HKS Document 20 Filed 10/20/20 Page 3 of 8




              March 24, 2000); FRCP 7(c) (“The indictment or the
              information shall be a plain, concise and definite written
              statement of the essential facts constituting the offense
              charged.”).


              This principle was reaffirmed by the United States Supreme Court in

United States v. Resendiz-Ponce, 549 U.S. 102, 108 (2007) wherein the court stated:



              In Hamling, we identified two constitutional requirements for
              an indictment: “first, [that it] contains the elements of the
              offense charged and fairly informs a defendant of the charge
              against which he must defend, and, second, [that it] enables
              him to plead an acquittal or conviction in bar of future
              prosecutions for the same offense.” 418 U.S., at 117, 94
              S.Ct. 2887.


              Likewise, the Court of Appeals for the Second Circuit has reiterated this

principle by stating:



              It bears recalling that “we have consistently upheld
              indictments that do little more than to track the language of
              the statute charged and state the time and place (in
              approximate terms ) of the alleged crime.” United States v.
              Pirro, 212 F.3d 86, 100 (2d Cir.2000) (internal quotation
              marks omitted) (emphasis supplied). Indeed, “in an
              indictment for conspiring to commit an offense—in which the
              conspiracy is the gist of the crime—it is not necessary to
              allege with technical precision all the elements essential to
              the commission of the offense which is the object of the
              conspiracy.” United States v. LaSpina, 299 F.3d 165, 177
              (2d Cir.2002). Rather, “[a]n indictment is sufficient when it
              charges a crime with sufficient precision to inform the
              defendant of the charges he must meet and with enough
              detail that he may plead double jeopardy in a future
              prosecution based on the same set of events.” United States


                                             3
      Case 1:20-cr-00077-RJA-HKS Document 20 Filed 10/20/20 Page 4 of 8




                v. Yannotti, 541 F.3d 112, 127 (2d Cir. 2008) (internal
                quotation marks omitted).

United States v. Bout, 731 F.3d 233, 240-241 (2d Cir. 2013); United States v.

Stavroulakis, 952 F.2d 686, 693 (2d Cir.); cert. denied, 504 U.S. 926 (1992); see also

Russell v. United States, 369 U.S. 749, 765-66 (1962).



                The charging language set forth in Count 1 of the Indictment herein clearly

tracks the language contained in Title 18 U.S.C. §§ 2261A(2)A and 2261A(2)(B) thereby

creating a legally valid indictment and contains the necessary elements of the offense

charged. Count 1 also advises the defendant of the time period in which such violation

allegedly occurred relating to “Victim 1” thereby providing sufficient information to the

defendant that would enable him to plead an acquittal or conviction in bar of future

prosecutions.



                Title 18 U.S.C. §§ 2261A(2)(A) and 2261A(2)(B) provides the following:




                Whoever--
                (1) travels in interstate or foreign commerce or is present
                within the special maritime and territorial jurisdiction of the
                United States, or enters or leaves Indian country, with the
                intent to kill, injure, harass, intimidate, or place under
                surveillance with intent to kill, injure, harass, or intimidate
                another person, and in the course of, or as a result of, such
                travel or presence engages in conduct that--
                (A) places that person in reasonable fear of the death of, or
                serious bodily injury to--
                (i) that person;
                                               4
      Case 1:20-cr-00077-RJA-HKS Document 20 Filed 10/20/20 Page 5 of 8




              (ii) an immediate family member (as defined in section 115)
              of that person; or
              (iii) a spouse or intimate partner of that person; or
              (B) causes, attempts to cause, or would be reasonably
              expected to cause substantial emotional distress to a person
              described in clause (i), (ii), or (iii) of subparagraph (A); or
              (2) with the intent to kill, injure, harass, intimidate, or place
              under surveillance with intent to kill, injure, harass, or
              intimidate another person, uses the mail, any interactive
              computer service or electronic communication service or
              electronic communication system of interstate commerce, or
              any other facility of interstate or foreign commerce to engage
              in a course of conduct that--
              (A) places that person in reasonable fear of the death of or
              serious bodily injury to a person described in clause (i), (ii),
              or (iii) of paragraph (1)(A); or
              (B) causes, attempts to cause, or would be reasonably
              expected to cause substantial emotional distress to a person
              described in clause (i), (ii), or (iii) of paragraph (1)(A), shall
              be punished as provided in section 2261(b) of this title.


              The defendant argues that the single count charged in the indictment is

worded in such a way that “prevents both him and the Court from knowing what facts or

events . . . , were (a) relied upon by the grand jury in voting to charge him with a

violation of the federal cyberstalking statute, and (b) will form the basis of the

government’s proof at trial.” Dkt. #15, p. 3. Basically, the defendant claims that since

the charge in the indictment does not contain anything of a “factual nature,” it is deficient

since Section 2261A(2) requires that there be a “course of conduct” committed by the

defendant with “criminal intent” described in the charge. More specifically, he asserts

that the indictment must contain a “factual predicate” consisting of two or more acts that


                                              5
      Case 1:20-cr-00077-RJA-HKS Document 20 Filed 10/20/20 Page 6 of 8




are evidence of a “continuity of purpose.” Dkt. #15, p. 2.



             This argument of the defendant lacks legal merit. There is no

requirement that factual evidence of the government’s case be set forth in the

indictment. That is a matter of proof to be developed at the trial. Furthermore, Title 18

U.S.C. §§ 2261A(2)A and 2261A(2)(B) do not require such factual detail as claimed by

the defendant. All the statute requires is that the necessary elements of the crime

charged be contained in the charge. In this case, the necessary elements constituting

a violation of Title 18 U.S.C. §§ 2261A(2)A and 2261A(2)(B) are that the defendant

“engage[d] in a course of conduct” with the use of an electronic communication service

or electronic communication system of interstate commerce or a facility of interstate and

foreign commerce with the intent to harass and intimidate Victim 1, a person known to

the grand jury so as to cause Victim 1 to be “in reasonable fear of death or serious

bodily injury and/or a cause or attempts to cause” Victim 1 “substantial emotional

distress” or “would be reasonably expected to cause substantial distress to Victim 1.”



             The key element of Title 18 U.S.C. § 2261A(2)A and 2261A(2)(B) is the

“course of conduct” of the defendant with the requisite intent which causes or

reasonably would cause a person to suffer death, serious bodily injury or substantial

emotional distress. However, there is nothing in the statute that requires the facts or

acts relating to the defendant’s course of conduct be described in the indictment as

necessary elements of the crime charged. To determine what is meant by “course of


                                            6
         Case 1:20-cr-00077-RJA-HKS Document 20 Filed 10/20/20 Page 7 of 8




conduct,” one must look to Title 18 U.S.C. § 2266(2) wherein it is defined as being “a

pattern of conduct composed of 2 or more acts, evidencing a continuity of purpose.”

Such acts do not necessarily in and of themselves have to be illegal acts. Therefore,

because Sections 2261A(2)A and 2261A(2)(B) do not contain a requirement that the

two or more acts making up the “course of conduct” be illegal, it reasonably follows that

such acts, whatever they be, do not constitute elements of the crime charged, and as a

result, do not have to be set forth in the indictment. See United States v. Ackell, 904

F.3d, 67, 79-80 (1st Cir. 2018), cert. denied 139 S.Ct. 2012 (2019).



                                      CONCLUSION



               It is hereby ORDERED pursuant to 28 U.S.C. ' 636(b)(1) that:



               This Report, Recommendation and Order be filed with the Clerk of the

Court.



               ANY OBJECTIONS to this Report, Recommendation and Order must be

filed with the Clerk of this Court within fourteen (14) days after receipt of a copy of this

Report, Recommendation and Order in accordance with the above statute, Fed.R.Crim.P.

58(g)(2)(A), Fed.R.Crim. P. 59, and Local Rule 59.




                                             7
          Case 1:20-cr-00077-RJA-HKS Document 20 Filed 10/20/20 Page 8 of 8




                The district judge will ordinarily refuse to consider de novo, arguments,

 case law and/or evidentiary material which could have been, but were not presented to

 the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

 Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988).

 Failure to file objections within the specified time or to request an extension of

 such time waives the right to appeal the District Judge's Order. Thomas v. Arn,

 474 U.S. 140 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir.

 1988).



               The parties are reminded that, pursuant to Rule 59 of the Local Rules for

the Western District of New York, “in the event that a party files objections, the specific

matters to which the party objects and the manner in which it is claimed that the order is

clearly erroneous or contrary to law shall be clearly set out in the objections.” Failure

to comply with the provisions of Rule 59, or with the similar provisions of

Rule 59 (concerning objections to a Magistrate Judge's Report and

Recommendation), may result in the District Judge's refusal to consider the

objection.



DATED:         Buffalo, New York
               October 20, 2020


                                          S/ H. Kenneth Schroeder, Jr.
                                          H. KENNETH SCHROEDER, JR.
                                          United States Magistrate Judge


                                              8
